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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division




   UNITED STATES, et al.,

                                  Plaintiffs,

           vs.                                                 No. 1:23-cv-00108-LMB-JFA
   GOOGLE LLC,

                                  Defendant.



            NON-PARTY THE WALT DISNEY COMPANY’S MOTION TO SEAL

         Pursuant to Local Civil Rule 5(C), non-party The Walt Disney Company (“TWDC”)

  respectfully moves this Court to seal portions of the deposition testimony of Jeremy Helfand and

  of certain documents identified in Plaintiffs’ and Defendant’s trial exhibit lists, and one document

  from Defendant’s trial exhibit list in its entirety. As discussed further in the accompanying

  memorandum of law, sealing the identified portions of this deposition testimony and documents

  from the parties’ trial exhibits is necessary and tailored to protect TWDC’s sensitive, confidential,

  business information.


  July 26, 2024                                     Respectfully submitted,




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